Case 3:10-cr-00183-B         Document 271       Filed 05/29/13      Page 1 of 1      PageID 1046



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA,                      §
                                               §
V.                                             §             No. 3:10-cr-183-B (05)
                                               §
GEORGIALYN GUICE,                              §
                                               §
                Defendant.                     §

                                             ORDER

       After conducting a review of the pleadings, files and records in this case, and the Findings,

Conclusions, and Recommendation of the United States Magistrate Judge, entered on April 29, 2013

in accordance with 28 U.S.C. § 636(b)(1), I am of the opinion that the Findings, Conclusions, and

Recommendation of the Magistrate Judge are correct, and they are hereby accepted as the Findings

of the Court.

       The Court denies Defendant’s Motion for Downward Departure to Include Sentence

Modification [Dkt. No. 260] and Motion for Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)

[Dkt. No. 262].

       SO ORDERED this 29th day of May, 2013.




                                             _________________________________
                                             JANE J. BOYLE
                                             UNITED STATES DISTRICT JUDGE
